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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 v.                                                       Case No. 22-CR-430-JFH-7

 MALAVE GUTIERREZ,                                           FILED UNDER SEAL

                       Defendant.

                                    OPINION AND ORDER

       Before the Court is a motion for leave to dismiss without prejudice (“Motion”) filed by the

United States of America (“Government”). Dkt. No. 126. The Government requests leave to

dismiss the indictment [Dkt. No. 33] without prejudice as to Defendant Malave Gutierrez

(“Defendant”). Id.

       Under Fed. R. Crim. P. 48(a), “courts must grant prosecutors leave to dismiss charges

unless dismissal is clearly contrary to manifest public interest.” United States v. Robertson, 45

F.3d 1423, 1437 n.14 (10th Cir. 1995) (quoting Rinaldi v. United States, 434 U.S. 22, 30 (1977)).

The Court concludes that dismissal of the charge against Defendant is not contrary to the public

interest, nor is it for an improper purpose. The Government’s motion to dismiss should be granted.

       IT IS THEREFORE ORDERED that the Government’s motion for leave to dismiss without

prejudice [Dkt. No. 126] is GRANTED and the Indictment [Dkt. No. 33] is dismissed without

prejudice as to Defendant Malave Gutierrez.

       Dated this 11th day of April 2023.




                                                    JOHN F. HEIL, III
                                                    UNITED STATES DISTRICT JUDGE




                                                                      c/emld AUSA Spencer Willson
